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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


 JOE ANDREW SALAZAR,

    Plaintiff,

    v.                                     Civil Action No. 2:20-cv-00004-JRG

 AT&T MOBILITY LLC,                        JURY TRIAL DEMANDED
 SPRINT/UNITED MANAGEMENT
 COMPANY, T-MOBILE USA, INC.,
 AND CELLCO PARTNERSHIP D/B/A
 VERIZON WIRELESS,

    Defendants

    and

 HTC CORP., and HTC AMERICA, INC.,

    Intervenors.


PLAINTIFF JOE ANDREW SALAZAR’S SUPPLEMENTAL CLAIM CONSTRUCTION
                             BRIEF
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        Plaintiff Joe Andrew Salazar (“Plaintiff” or “Salazar”) submits this supplemental claim

construction brief to address arguments and case law relating to the claim term “a microprocessor

for generating . . ., said microprocessor creating . . ., a plurality of parameter sets retrieved by said

microprocessor . . ., said microprocessor generating . . .” raised by Defendants AT&T Mobility

LLC, Sprint United Management Company, T-Mobile USA Inc., and Cellco Partnership, Inc. d/b/a

Verizon Wireless, Inc. and Intervenors HTC Corp. and HTC America, Inc. (collectively,

“Defendants and Intervenors”) for the first time during the Court’s claim construction hearing held

on July 24, 2020.

        During the claim construction hearing, Defendants and Intervenors argued that the Federal

Circuit’s decision in Convolve, Inc. v. Compaq Computer Corp., 812 F.3d 1313 (Fed. Cir. 2016)—

a case that was not cited by any of the parties in their briefing—was inconsistent with Plaintiff’s

assertion that in an open-ended “comprising” claim, the rule of “a” meaning “one or more” applies,

and the recited [a microprocessor] means “one or more” [microprocessors] and the subsequent use

of the definite articles “the” or “said” in a claim to refer back to the same claim term does not

change the general plural rule, but simply reinvokes that non-singular meaning. See Freeny v.

Fossil Grp., Inc., 2019 WL 2078783, at *14 (E.D. Tex. May 10, 2019). As detailed below, the

Convolve decision is entirely consistent with Freeny, and Defendants’ and Intervenors’

representation of Convolve is inaccurate.

A.      Convolve is not inconsistent with Freeny and does not support Defendants’ and
        Intervenors’ argument that each “a microprocessor” in Salazar’s claims must
        perform all the recited functions.

        Defendants and Intervenors misrepresent the holding of Convolve. In Convolve, the

Federal Circuit reviewed a district court decision granting summary judgment of non-infringement

of various asserted claims. Convolve, 812 F.3d at 1320. The Federal Circuit held that the district




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court erred by treating all of the asserted claims as having the same scope and not accounting for

the distinct structure and language of each of the claims. Id. In reaching its decision, the Federal

Circuit stated that “[t]his Court has ‘repeatedly emphasized that an indefinite article ‘a’ or ‘an’ in

patent parlance carries the meaning of ‘one or more’ in open-ended claims containing the

transitional phrase ‘comprising.’” Id. at 1321. The Federal Circuit explained that the “exceptions

to this rule are ‘extremely limited: a patentee must evince a clear intent to limit ‘a’ or ‘an’ to one”

and “absent a clear intent in the claims themselves, the specification, or the prosecution history,

we interpret ‘a processor’ as ‘one or more processors.’” Id. (emphasis added).

        The Federal Circuit went on to distinguish different subsets of the asserted claims. The

first subset of claims recites “an apparatus comprising [in the preamble] 1 ‘a processor’ that

executes certain process steps ‘to generate a user interface,’ ‘to alter settings in the user interface,’

and ‘to output commands to the data storage device [the three steps in the second paragraph of the

body of claim 9] 2.’” Id. With respect to these claims, the Federal Circuit found no evidence clearly

limiting “a processor” to a single processor. Id.

        In contrast, the Federal Circuit distinguished another subset of claims 3 where the claims

recite “‘a processor,’ but do so in the context of reciting the function of the ‘user interface’ [in the

preamble of the claims].” Id. The Federal Circuit explained:

              Here, unlike claims 9 and 15, the language and structure of claim 1
              demonstrate a clear intent to tie the processor that “output[s] commands
              to the data storage device” to the “user interface.” Specifically, claim 1


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  In the first subset, the Federal Circuit analyzed claims 9 and 15, which shared identical preambles:
“Apparatus for controlling operation of a data storage device, the apparatus comprising:.” See
U.S. Patent No. 6,314,473 Ex Parte Reexamination Certificate. (Ex. A)
2
  See, e.g., ‘473 Patent col. 2 line 7-22 (reexamined claim 9).
3
   The Federal Circuit grouped claims 1, 3, and 5 together and distinguished them from the
previously addressed claims 9 and 15. The preamble of claim 1 (the claim addressed by the court
as exemplary) recited “User interface for operatively working with a processor to affect
operation of a data storage device, the user interface comprising:.” (emphasis added).


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             recites “a processor” in the preamble before recitation of “comprising,”
             and the claim body uses the definite article “the” to refer to the
             “processor.” This reference to “the processor,” referring back to the “a
             processor” recited in preamble, supports a conclusion that the recited user
             interface is “operatively working with” the same processor to perform all
             of the recited steps. Id. (emphasis added).

       Because the claimed “a processor” was specifically tied to the functions of the “user

interface” in the preamble, the Federal Circuit held that “the claim language requires a processor” 4

to be tied to the user interface. Id. Accordingly, the Convolve decision found the extremely limited

exception to the rule of tying “a processor” to a specific component only because that limitation

was specifically recited in the preamble of the claim and was recited as specifically tied to the user

interface (i.e., demonstrating a “clear intent” to tie the two together).

       In the case of the Salazar patent, the preambles of the independent claims broadly recite

“A communications, command, control and sensing system for communicating with a plurality of

external devices comprising:” See ‘467 Patent claims 1 and 34. Similar to the first subset of claims

addressed in Convolve, there is no evidence of a “clear intent” to limit the recited “a

microprocessor” of the Salazar patent to a single microprocessor. Unlike the second subset of

claims addressed in Convolve where “a processor” was expressly tied to the user interface in the

preamble of the claims preceding “compromising:,” the recited “a microprocessor” of Salazar’s

independent claims 5 does not appear in the preamble of the claims, comes after the term

“comprising:,” and is not tied to any specific component of the communications, command, control

and sensing system. 6 Accordingly, consistent with the holdings of both Convolve and Freeny, any



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  In this case, the accused Compaq computers contained a single processor associated with the
user interface. Convolve, 812 F.3d at 1317.
5
  This term appears in the first paragraph of the body of the claims 1 and 34 of the ‘467 Patent.
6
  The “a microprocessor” in Salazar’s claims, as was the case in the first subset of claims
discussed above (claims 9 and 15), does not appear in the preamble and is not tied to any
particular component.


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one of the one or more microprocessors of the Salazar patent can be capable of performing any

one of the recited functions in this claim term, and any individual one of the microprocessors (or

all the microprocessors) need not be capable of performing all of the recited functions.

B.     Defendants’ and Intervenors’ assertion that Freeny may have been decided
       differently if the Court had considered Convolve is without merit.

       During the claim construction hearing, Defendants and Intervenors did not argue that

Freeny does not support Plaintiff’s position; rather, they argued that Freeny may have been

decided differently had the Court considered Convolve in deciding Freeny. This argument is

without merit. Freeny was decided in May 2019, and at that time Judge Payne (the author of

Freeny) had previously cited the Convolve case in the claim construction context. See, e.g.,

Implicit, LLC v. NetScout Sys., Inc., No. 2:18-CV-53-JRG, 2019 WL 1614725, at *12 (E.D. Tex.

Apr. 15, 2019) (citing Convolve and stating that “[a]n indefinite article ‘a’ or ‘an’ in patent parlance

carries the meaning of ‘one or more’ in open-ended claims containing the transitional phrase

‘comprising’”). Accordingly, Judge Payne was aware of Convolve, and the lack of citation to it in

Freeny does not support Defendants’ and Intervenors’ assertion that the two cases are inconsistent.

C.     Conclusion

       For the reasons provided above, Plaintiff respectfully requests that the Court construe the

disputed claim term as having its plain and ordinary meaning.




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Dated: July 30, 2020                                Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with the Federal Rules of Civil Procedure. All other counsel of record not deemed to

have consented to electronic service were served with a true and correct copy of the foregoing by

U.S. Mail, CMRRR on this 30th day of July, 2020.

                                                    /s/Geoff Culbertson
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